Case 8:23-cr-00100-CJC Document 16 Filed 06/14/23 Page 1 of 1 Page ID #:57


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                                      U NITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

        U NITED STATES OF AMERICA,                            I Southern Division
                                                 Plaintiff,
                              vs.                                 Case #: 8:23-MJ-00304-2    Complaint &Warrant
                                                                  Initial App. Date: TOC/14~       Custody
       Tibet Ergul                                                Time: 2:00 PM




                                              Defendant.          Date Filed: 06L/2023
                                                                  Violation: 18 USC 844(1).
                                                                  CourtSmart/Reporter: CS 06/14 2023


  PROCEEDINGS HELD BEFORE UNITED STATES                                 CALENDAR/PROCEEDINGS SHEET
   MAGISTRATE ]UDGE: Douglas F. McCormick                                LOCAL/OUT-OF-DISTRICT CASE




 PRESENT:         Nancy K. Boehme                   Kathrynne Seiden                                /None
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                     Deputy Clerk                Assistant U.S. Attorney                    Interpreter/Language




  Q Court issues Order under Fed. R. Crim. P. 5(f) concerning prosecutor's disclosure obligations; see
  General Order 21-02 (written order).

   Q Defendant informed of charge and right to: remain silent; appointment of counsel, if indigent; right
  to bail; bail review and Q preliminary hearing

   Q Defendant advised of consequences of false statement in financial affidavit.

   Q Attorney: Sheila Mojtehedi and          Panel, and DAppointed



  Q Government's request for detention is: CONTINUED.

  Q Defendant is ordered: Temporarily Detained (see separate order).

  Q Preliminary Hearing waived.

  Q PIA set for July 24, 2023, at 10:00 AM in Santa Ana.

  Q Case continued to (Date) June 16, 2023, at 1:30 PM

  Q Type of Hearing: Detention Hearing Before Judge McCormick /Duty Magistrate Judge.

  Q Proceedings will be held in the Judge's Courtroom 66

  Q Defendant committed to the custody of the U.S. Marshal


                                                                                           Deputy Clerk Initials: in l
                                                                                                            00:07




M-5 (10/13)                   CALENDAR/PROCEEDING SHEET - LOCAL/OUT-OF-DLSTRICT CASE                           Page 1 of 1
